                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI

               Albert J. Astarita, et al. v. Menard, Inc., Case No. 5:17-cv-06151
         United States District Court, Western District of Missouri, St. Joseph Division


                           NOTICE OF COLLECTIVE ACTION


TO:    All present and former hourly employees who worked or are working at Menard’s retail
       home improvement stores and/or distribution centers throughout the United States at any
       time from December 21, 2014 to the present, and participated in the In-Home Training
       Program without compensation, who worked 40 or more hours per workweek including
       any time spent in in-home training, and whose employment agreement does not contain a
       class or collective action waiver.

       Important: Any present or former hourly employees who, when first hired at
       Menard, originally executed an employment agreement that permitted participation
       in a class or collective action, but that after December 21, 2017, executed an
       employment agreement or an arbitration agreement that contained a class or
       collective action waiver, are not precluded from joining this collective action.

RE:    Your right to join a collective action seeking to recover alleged unpaid overtime pay.

      DEADLINE TO FILE CONSENT FORM: [45 days after notice is mailed], 2019

                  This is not a solicitation from a lawyer or from a law firm.
                              A Court has authorized this Notice.

                                   BASIC INFORMATION

                                PURPOSE OF THIS NOTICE

Records maintained by Menard indicate that you currently work for or previously worked for or
at a Menard’s retail home improvement store and/or distribution center at any time during the
period of December 21, 2014 to the present, and participated in the In-Home Training Program.
This Notice explains information about a pending lawsuit in the U.S. District Court, Western
District of Missouri, St. Joseph Division. This lawsuit is entitled Albert J. Astarita, et al. v.
Menard, Inc., Case No. 5:17-cv-06151. Based on the allegations made in the lawsuit, you may
have legal rights to compensation for unpaid overtime. More information about your legal rights
is contained in other sections of this Notice.




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                              WHAT IS THIS LAWSUIT ABOUT?

Two former Menard employees sued Menard. They are referred to as the Plaintiffs. Plaintiffs
claim that Menard caused them to perform work off of the clock and without pay because Menard
did not pay them for the time spent participating in the In-Home Training Program.

Plaintiffs claim that Menard has violated the federal Fair Labor Standards Act (“FLSA”). The
Plaintiffs have asked for money damages and other relief on behalf of themselves and other
employees who are similarly situated.

Menard denies liability and has asserted various defenses to Plaintiffs’ claims. If Menard’s
arguments are sustained by the Court, the Class may recover less or nothing at all. At this time,
the Court has not issued any decision as to who is right and who is wrong related to the allegations
in this case.

                             WHAT IS A COLLECTIVE ACTION?

A collective action under the Fair Labor Standards Act (“FLSA”) is a lawsuit in which one or more
persons acting as representatives sue on behalf of other persons who have similar claims. When
the Court certifies the case as a collective action, other similarly situated individuals, usually
current and former coworkers, are invited to join the collective action, if they wish, by mailing a
written notice indicating a desire to participate.

You are being informed of this collective action because you are eligible to participate. If you
would like to participate you must sign and return the enclosed “Consent Form.”

                    YOUR RIGHT TO PARTICIPATE IN THIS ACTION

Plaintiffs seek to sue not only for themselves but also for other persons with whom they alleged
are similarly situated. Plaintiffs allege that those individuals consist of all present and former
hourly employees, working at Menard’s retail home improvement stores and/or distribution
centers throughout the United States who worked 40 or more hours per workweek, were not paid
wages for the time spent on In-Home Training programs, and whose employment agreement does
not contain a class or collective action waiver.

If you fit this definition, you have the right to choose to become a plaintiff in this action.

                                   HOW DO I PARTICIPATE?

To join this collective action, you must sign and return the enclosed “Consent Form.” If you
choose to join this action, you must return the Consent Form by: (a) mailing it to
[ADMINISTRATOR]; (b) faxing the form to [ADMINISTRATOR]; or (c) scanning the form and
emailing it to [ADMINISTRATOR].

The signed Consent Form must be postmarked, faxed or emailed by [45 days after notice is
mailed]. It is important that you return the Consent Form as soon as possible because the time
period for which you can seek payment for your unpaid overtime compensation will depend on



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when this form is filed with the Court. If you lose or misplace the enclosed Consent Form, you
may contact the [ADMINISTRATOR] for an additional copy.

                            EFFECT OF JOINING THIS LAWSUIT

If you choose to join this action, you will be bound by the judgment, whether it is favorable or
unfavorable. You will also be bound by, and will share in, any settlement that may, or may not,
be reached on behalf of the class.

By joining this action, you designate the Named Plaintiff(s) as your agents to make decisions on
your behalf concerning the litigation, the method and manner of conducting this litigation, the
entering of an agreement with Plaintiffs’ counsel concerning fees and costs and all other matters
pertaining to this action. While this suit is proceeding, Plaintiffs’ counsel will assist you in
complying with any discovery obligations under the civil rules if you are required to respond to
written questions, provide copies of documents in your possession or control or testify in a
deposition or testify before the Court.

The Named Plaintiffs in this matter have entered into a contingency fee agreement with Plaintiffs’
counsel, which means that if there is no recovery, there will be no attorneys’ fees chargeable to
you. If the Plaintiffs’ claims are successful and there is a recovery of wages, liquidated damages
and/or attorneys’ fees and costs, the contingency fee percentage will be forty percent (40%) of
your total recovery. Costs expended by Plaintiffs’ counsel on your behalf will be deducted from
your remaining recovery. If Menard is ordered by the Court to pay an amount of attorneys’ fees
and costs that equals or exceeds the amount owed under the contingency fee, Plaintiffs’ counsel
will accept the amount that Menard is ordered to pay, causing you to not incur attorneys’ fees and
costs under this agreement.

                                 RETALIATION PROHIBITED

The law prohibits any employer from taking any action to discharge you, or in any manner harass,
discriminate or retaliate against you for taking part in this action. This is true whether you currently
work for Menard or for another employer. However, your employer is not required to pay your
wages if you take time away from work related to this case.

                     LEGAL EFFECT OF NOT JOINING THIS ACTION

If you choose not to join this action, you will not be affected by any judgment or settlement
rendered in this case, whether favorable or unfavorable to the class. You will not be entitled to
share any amounts recovered by the class. You will be free to file your own lawsuit, or to not file
any lawsuit at all; however, the pendency of this action will not stop the running of the statute of
limitations as to any claims you may have until you file your own lawsuit.

                     YOUR LEGAL REPRESENTATION IF YOU JOIN

If you participate in this action, you will be represented by:




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McClelland Law Firm, P.C.                    Stueve Siegel Hanson LLP
The Flagship Building                        460 Nichols Road, Suite 200
200 Westwoods Drive                          Kansas City, Missouri 64112
Liberty, Missouri 64068                      Telephone: (816) 714-7100
Telephone: (816) 781-0002                    hanson@stuevesiegel.com
ryan@mcclellandlawfirm.com

                                 FURTHER INFORMATION

If you have questions about this case or about this Notice, further information may be obtained
from Plaintiffs’ Counsel.

DO NOT CONTACT THE COURT WITH QUESTIONS ABOUT THIS CASE OR ABOUT
THIS NOTICE. THIS NOTICE HAS BEEN AUTHORIZED BY THE COURT, BUT THE
COURT TAKES NO POSITION REGARDING THE MERITS OF THE ALLEGATIONS
AND/OR DEFENSES. THERE IS NO ASSURANCE THAT THE COURT WILL RULE IN
FAVOR OF THE PLAINTIFFS OR IN FAVOR OF MENARD. THE COURT DOES NOT
ENCOURAGE OR DISCOURAGE ANY PERSON FROM JOINING THIS LAWSUIT.

                                 Dated: ___________________




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                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI

 ALBERT J. ASTARITA, and
 DIANA M. OWENS, individually, and on
 behalf of all others similarly situated,

                Plaintiffs,                           Case No. 5:17-CV-06151-RK

 v.                                                   CONSENT TO JOIN

 MENARD, INC. d/b/a MENARDS,

                Defendant.

         I hereby consent, agree, and opt-in to be a party plaintiff in the above-captioned collective
action. I agree to be represented by McClelland Law Firm, P.C. and Stueve Siegel Hanson LLP.
I understand that by filing this consent, I will be bound by the judgment of the Court on all issues
in this case.

                                                 _________________________________________
                                                 Signature                     Date

                                                 _________________________________________
                                                 Name (Please Print)

                                                 _________________________________________
                                                 Street Address

                                                 _________________________________________
                                                 City, State, ZIP Code

                                                 _________________________________________
                                                 Phone Number(s)

                                                 _________________________________________
                                                 E-Mail Address

                                                 _________________________________________
                                                 Menard Location(s) Where I Worked

FAX to:        [ADMINISTRATOR]

EMAIL to:      [ADMINISTRATOR]

MAIL to:       [ADMINISTRATOR]

On or before: [45 days after notice is mailed]



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